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EXHIBIT A TO THE APPLICATION:

           PROPOSED ORDER
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

__________________________________________
                                          )
In re:                                    ) Chapter 11
                                          ) Case No. 01-1139 (KJC)
W.R. GRACE & CO., et al.,                 ) (Jointly Administered)
                                          )
                  Debtors.                ) Re: Docket No. _________
__________________________________________) Hearing Agenda Item No. _______


  ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT OF FRANKEL
     WYRON LLP AS BANKRUPTCY CO-COUNSEL TO ROGER FRANKEL,
 THE ASBESTOS PERSONAL INJURY FUTURE CLAIMANTS’ REPRESENTATIVE,
                 NUNC PRO TUNC TO JANUARY 16, 2014

        Upon consideration of the Application of Roger Frankel, Asbestos PI Future Claimants’

Representative, for the Entry of an Order Authorizing the Retention and Employment of Frankel

Wyron LLP as Bankruptcy Co-Counsel Nunc Pro Tunc to January 16, 2014 (the “Application”)

and the Declaration of Richard H. Wyron in Support thereof (the “Wyron Declaration”), it

appearing that the relief requested is in the best interests of the Debtors, their estates, their

creditors, and other parties in interest; the Court having found that Frankel Wyron LLP

(“FW LLP”) is disinterested, does not represent any other entity having an adverse interest in

these chapter 11 cases, and does not represent or hold an interest adverse to the Debtors or their

estates in these Chapter 11 Cases with respect to the matters on which FW LLP is to be

employed; the Court having jurisdiction to consider the Application and the relief requested

therein pursuant to 28 U.S.C. §§ 157 and 1334; consideration of the Application and the relief

requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b); venue being proper

before the Court pursuant to 28 U.S.C. §§ 1408 and 1409; notice of the Application having been

adequate and appropriate under the circumstances; and after due deliberation and sufficient cause

appearing therefor, it is hereby
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ORDERED that:

        1.      The Application be, and hereby is, granted in its entirety.

        2.      Pursuant to Sections 328 and 1103(a) of the Bankruptcy Code and the

Appointment Order, Roger Frankel (the “FCR”) be, and he hereby is, authorized to employ and

retain FW LLP as bankruptcy co-counsel, effective as of January 16, 2014, upon the terms, and

to perform the services, set forth in the Application and the Wyron Declaration, so long as Roger

Frankel serves as the FCR in these cases for individuals who may assert asbestos-related

personal injury claims and/or demands in the future against the Debtors.

        3.      Compensation, including professional fees and reimbursement of expenses, shall

be payable to FW LLP from the Debtors’ estates, in accordance with the procedures set forth in

Sections 330 and 331 of the Bankruptcy Code and the terms and conditions described in the

Application and the Wyron Declaration, subject to approval by this Court and subject to the

Administrative Compensation Order entered in these cases.

        4.      The fees and expenses of FW LLP allowed by the Court shall be an administrative

expense of the Debtors’ estates.




Dated: _________, 2014                 _______________________________________
                                       Honorable Kevin J. Carey
                                       United States Bankruptcy Judge




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